           Case 1:20-vv-01093-UNJ Document 33 Filed 03/03/22 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1093V
                                          UNPUBLISHED


    SYLVIA ROWE,                                                Chief Special Master Corcoran

                          Petitioner,                           Filed: January 27, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION 1

         On August 28, 2020, Sylvia Rowe filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table injury – a left Shoulder Injury
Related to Vaccine Administration (“SIRVA”) – as a result of an influenza (“flu”)
vaccination on September 26, 2018. Petition at 1; Stipulation, filed at January 25, 2022,
¶¶ 1-2, 4. Petitioner further alleges the vaccine was administered within the United States,
that she suffered the residual effects of her injury for more than six months, and that there
has been no prior award or settlement of a civil action on her behalf as a result of her
injury. Stipulation at ¶¶ 3-5; see Petition at ¶¶ 2, 17-19. “Respondent denies that
[P]etitioner sustained the onset of a left shoulder injury within the time period set forth in
the Table; denies that the vaccine caused [P]etitioner’s alleged injuries or any other injury
or [P]etitioner’s current disabilities; and denies that [P]etitioner sustained a SIRVA Table
injury.” Stipulation at ¶ 6.
1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-01093-UNJ Document 33 Filed 03/03/22 Page 2 of 7




       Nevertheless, on January 25, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $15,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

        I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                  s/Brian H. Corcoran
                                                                  Brian H. Corcoran
                                                                  Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint f iling of notice
renouncing the right to seek review.

                                                     2
          Case 1:20-vv-01093-UNJ Document 33 Filed 03/03/22 Page 3 of 7




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


    SYLVIA ROWE,

                  Petitioner,

    V.                                                   No. 20-1093V
                                                         Chief Special Master Corcoran
    SECRETARY OF HEALTH AND                              ECF
    HUMAN SERVICES,

                  Respondent.


                                          STIPULATION

         The parties hereby stipulate to the following matters:

         1.     Petitioner filed a petition for vaccine compensation under the National Vaccine

Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of an influenza

("flu") vaccine, which is a vaccine contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § 100.3 (a).

         2.     Petitioner received a flu vaccine on September 26, 2018. 1

         3.     This vaccine was administered within the United States.

         4.     The petition alleges that petitioner suffered from a left shoulder injury related to

vaccination administration ("SIRVA") as a result of receiving the flu vaccine.

         5.     Petitioner represents that there has been no prior award or settlement of a civil

action for damages on her behalf as a result of her condition.



1 On September 26, 2018, petitioner also received a Tetanus, Diphtheria, and acellular Pertussis
("Tdap") vaccine; however, the administration of this vaccination is the subject of another
petition in the Vaccine Program: Rowe, 20-740V.
         Case 1:20-vv-01093-UNJ Document 33 Filed 03/03/22 Page 4 of 7




        6.      Respondent denies that petitioner sustained the onset of a left shoulder injury

within the time period set forth in the Table; denies that the vaccine caused petitioner's alleged

injuries or any other injury or petitioner's current disabilities; and denies that petitioner sustained

a SIRVA Table injury.

        7.      Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.      As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

        A lump sum of $15,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9.      As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys ' fees and costs incurred in proceeding

upon this petition.

        10.     Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- 15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or




                                                   2
         Case 1:20-vv-01093-UNJ Document 33 Filed 03/03/22 Page 5 of 7




State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11.     Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys' fees, and litigation costs, and past unreimbursable expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individua 1 capacity and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Hwnan Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in anyway growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on September 26, 2018,

identified in the petition for vaccine compensation filed on or about August 28, 2020, in the

United States Court of Federal Claims as petition No. 20-l093V.




                                                     3
        Case 1:20-vv-01093-UNJ Document 33 Filed 03/03/22 Page 6 of 7




        14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.     If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16.    This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17.    This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the vaccine caused petitioner's alleged left

shoulder injury or any other injury or petitioner's current condition.

        18.    All rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULA TJON




                                                  4
                Case 1:20-vv-01093-UNJ Document 33 Filed 03/03/22 Page 7 of 7


Respectfully suhmittccl

PETITIONER:




ATTORNEY OF RECORD                              AUTHORIZED REPRESENTATIVE
FOR PETITIONER:                                 OF THE ATTORNEY GENERAL:


                                            '-.Jk 0:-tk~             \?~
AMY A. SENERTH                                  HEATHER L. PEARLMAN             .
MULLER BRAZIL                                   Deputy Director
715 Twining Road, Suite 208                     Torts Branch
Dresher, PA 19025                               Civil Division
Telephone: (215) 885-1655                       U.S. Department of JtL'itice
                                                P.O. Box 146
                                                Benjamin Franklin Station
                                                Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                       ATTORNEY OF RECORD FOR
OF THE SECRET ARY OF HEALTH                     RESPONDENT:
AND HUMAN SERVICES:

                                                 ~ ~ ~~
D~~1D:l(Sc,1A/JM,#1--                                n ~L~~
CDR GEORGE REED GRIMES, MD, M?fi                ALEXA ROGGENKAMP
Director, Division of Injury                    Trial Attorney
 Compensation Programs                          Torts Branch
Health Systems Bureau                           Civil Division
Health Resources and Services                   U.S. Department of Justice
 Administration                                 P .0. Box 146
U.S. Department of Health                       Benjamin Franklin Station
 and Human Services                             Washington, DC 20044-0146
5600 Fishers Lane, 08N 1468                     Tel: (202) 616-4179
Rockville, MD 20857                             Email: alexa.roggcnkamp@usdoj.gov



 Dated:   (5/   ks~

                                            5
